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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


 GVANTSA ROBAKIDZE,

       Plaintiff,

       v.                                          Case No. 24 CV 72

 WILD INVESTMENT COMPANY, d/b/a                    Judge Georgia N. Alexakis
 LIFESPORT TENNIS AND ATHLETIC CLUBS,

       Defendant.


                    MEMORANDUM OPINION AND ORDER

      In August 2023, plaintiff Gvantsa Robakidze was fired from her job as a tennis

professional with defendant LifeSport Tennis and Athletic Clubs (“LifeSport”). In this

suit, she claims LifeSport violated Title VII of the Civil Rights Act of 1964 (“Title

VII”) by firing her because of her sex and national origin. LifeSport has moved for

summary judgment on Robakidze’s claim of national origin discrimination. For the

reasons set forth below, the Court grants LifeSport’s motion for summary judgment.

                                   LEGAL STANDARD

      Summary judgment is appropriate if “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

A fact is “material” if it affects the substantive outcome of the litigation, see Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986), and a dispute is “genuine” if there is

enough evidence for a reasonable jury to return a verdict for the nonmoving party,
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see Scott v. Harris, 550 U.S. 372, 380 (2007). The nonmoving party can defeat

summary judgment only by showing that a reasonable jury could render a verdict in

its favor. See Anderson, 477 U.S. at 248. At summary judgment, the Court views the

record in the light most favorable to the nonmoving party and draws all reasonable

inferences in that party’s favor. See id. at 255.

                                     BACKGROUND

      Unless otherwise noted, the facts that follow are undisputed by the parties.

      Robakidze is a female tennis instructor whose country of origin is Georgia. [21]

at 1. From November 2022 to August 2023, Robakidze taught tennis lessons as a

tennis professional, or “tennis pro,” at LifeSport. Id. ¶¶ 1–2. Gian Remigio, who is

Filipino, was Robakidze’s direct supervisor. [22] ¶ 2. Remigio reported to Matthew

Gordon, LifeSport’s Vice President. Id.; see also [19-8] at 8:10–13.

      According to a provision in its employee handbook, LifeSport prohibits tennis

pros from teaching, instructing, or training outside LifeSport’s premises without prior

consent from management. [21] ¶ 6. However, LifeSport contracted with the Sachs

Recreation Center (“the Sachs Center”) in Deerfield so that its tennis pros could teach

lessons there. Id. ¶ 18. During the hiring process, Robakidze told LifeSport that it

would be difficult for several of her pre-existing clients to travel to LifeSport’s

Libertyville location to take lessons with her. Id. ¶ 16. Because the Sachs Center was

closer to some of Robakidze’s clients, LifeSport arranged for Robakidze to teach

certain lessons there. Id. ¶ 17. LifeSport also paid Robakidze $5,000 per year to make




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up for any lost revenue she might incur from clients who were unable to travel to

LifeSport’s Libertyville location and the Sachs Center in Deerfield. Id. ¶ 19.

       In February 2023, the deputy director of the Sachs Center emailed Gordon

expressing various concerns with Robakidze using the Sachs Center to teach lessons.

Id. ¶ 20; see also [19-10]. The deputy director complained, for example, that

Robakidze repeatedly failed to provide accurate lists of lessons for the day, resulting

in clients being incorrectly billed for lessons that never took place. [21] ¶ 21; [19-10].

He also described that, after being told the proper processes, Robakidze “seem[ed]

indifferent to anything anyone [said]” and acted almost as though “she [was] from

another planet.” [21] ¶ 22; [19-10]. The deputy director complained that Robakidze’s

behavior was “too much at this point” and concluded that he “would prefer that she

[ ] not teach here any longer.” [21] ¶¶ 22, 24; [19-10].

       In response to this email, LifeSport informed Robakidze that she could no

longer teach lessons at the Sachs Center. [21] ¶¶ 26–27. However, LifeSport offered

to let her teach at its Lincolnshire location because it was a more convenient location

for some of her clients. Id. ¶ 27. But instead of teaching these clients at the

Lincolnshire location, Robakidze taught them offsite without going through

LifeSport’s billing processes. Id. ¶ 28.1

       In July 2023, a LifeSport client purchased three lessons for their grandchild as

a gift. Id. ¶ 36. Brad Warren, a LifeSport member services employee, instructed


1 Robakidze does not deny this fact in her response to LifeSport’s Rule 56.1 statement; she merely

denies that her offsite lessons were “done secretly or without consent inasmuch as Remigio told
Plaintiff that he knew about it.” [21] ¶ 28. The Court deems the fact admitted except to the extent
Remigio may have known the lessons were taking place offsite.

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Robakidze to contact the client to schedule the lessons. Id. A few days later, the child’s

mother called back saying she had not heard from anyone to schedule the lessons, so

Warren again asked Robakidze to contact the client about scheduling the lessons. Id.

¶ 37–38; see also [19-14] at 1. Shortly thereafter, Warren received a call from the

child’s father asking why his child would have to travel to an offsite court for the

tennis lessons.2 [21] ¶ 39.

        Gordon confronted Robakidze about the situation during a meeting with

Robakidze and Remigio on August 4, 2023. Id. ¶¶ 41–42. During this meeting,

Robakidze admitted to Gordon and Remigio that she had been teaching private

lessons offsite without LifeSport’s consent.3 Id. ¶ 43. LifeSport terminated Robakidze

effective that day. Id. ¶ 45.

        According to LifeSport’s Rule 56.1 statement, the “trigger for Robakidze’s

immediate firing was the newfound knowledge that Robakidze was teaching offsite

without management’s prior consent.” Id. ¶ 47. Yet LifeSport also says that it


2 Robakidze objects to this statement as inadmissible hearsay. See [21] ¶ 39. But the statement is not

hearsay because it is not being offered to prove the truth of the matter asserted. See Fed. R. Evid.
801(c)(2). Rather, the statement is offered to explain why Gordon confronted Robakidze about teaching
lessons offsite during the August 4, 2023 meeting. See United States v. Graham, 47 F.4th 561, 567 (7th
Cir. 2022) (“Statements introduced to show their effect on the listener are not offered to prove the
truth of the matter asserted and therefore are not hearsay.”) (cleaned up). Here, because Robakidze
later admitted to teaching other lessons offsite without permission, see [21] ¶ 43, LifeSport need not
prove that Robakidze planned to teach lessons to this particular student offsite.
3 Robakidze denies this fact in her response to LifeSport’s Rule 56.1 statement, but her only

justification for doing so is that “Remigio texted Plaintiff that he was aware that she (and others)
taught lessons offsite.” [21] ¶ 43. She does not give any factual basis for denying that she admitted to
teaching private lessons offsite during the meeting with Gordon and Remigio, so the Court deems that
portion of LifeSport’s statement admitted. See N.D. Ill. L.R. 56.1(e)(3) (“To dispute an asserted fact, a
party must cite specific evidentiary material that controverts the fact and must concisely explain how
the cited material controverts the asserted fact. Asserted facts may be deemed admitted if not
controverted with specific citations to evidentiary material.”). In any case, Robakidze also admitted in
written discovery responses that she told Gordon and Remigio during the August 4, 2023, meeting
that she had been teaching lessons offsite without permission in her response to LifeSport’s first set
of interrogatories. See [19-3] ¶ 19.

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terminated Robakidze “not only because it learned she was teaching private tennis

lessons offsite without management’s prior consent but because her already

substandard job performance was not improving.” Id. ¶ 46. In support of Robakidze’s

substandard job performance, LifeSport references two alleged meetings between

Remigio and Robakidze in which they discussed Robakidze’s need to improve her

performance. Id. ¶¶ 29–31. Robakidze denies that these meetings ever occurred. See

id. Remigio says that he wanted to fire Robakidze after the second of these meetings,

but Gordon suggested that she be allowed more time to improve. Id. ¶ 34.

        LifeSport also produced an October 2023 email from Remigio to Gordon

detailing the various issues he observed with Robakidze’s job performance. See [19-

12] at 1. Among other complaints, the email states that Robakidze was frequently on

her phone during group classes, only provided students negative feedback, missed

more than 10 classes for inappropriate excuses, and exhibited a lack of energy on the

court. Id.

        The night LifeSport fired Robakidze, Robakidze sent Remigio the following

text:

        Hey Gian, I just wanted to say that it was fun working with you all and
        I’ll definitely miss working with the guys! I just had an honest question,
        you mentioned to me not too long ago that you knew that Ken and Sidney
        were teaching outside over the summer while they were working there
        at LifeSport and yet they were not fired for that. Do you think it was fair
        to fire me after all I’ve done all because I had one or two students outside
        because they physically could not drive to Libertyville?

[21] ¶ 53; see also [19-16]. Remigio responded with the following:

        I knew yours too but I pretend I dont [sic] knew [sic] it like them because
        I have no proof even with them, and who knows what other pros [sic]

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       doing… The one that triggered is the Member from the club that called
       Matt that you want to take them somewhere else…

[21] ¶ 55; see also [19-16]. Although Robakidze’s initial text suggested she had only

taught “one or two students” offsite, Robakidze admitted in her deposition to teaching

at least nine students offsite. [21] ¶ 54.

       LifeSport says that “[p]rior to Robakidze’s situation, the company never had

definitive proof of any tennis pro employees who [were] providing unauthorized offsite

lessons.”4 Id. ¶ 49. On a number of instances since Gordon began working for the

company in 1998, Gordon had “significant suspicion that a tennis pro was teaching

offsite without management’s prior consent.” Id. ¶ 50. On each occasion, however, the

tennis pro denied teaching offsite when Gordon confronted them. Id. ¶ 51. On one

occasion, Gordon went to local parks where he suspected that a tennis pro was

teaching offsite but could not find the tennis pro teaching there. Id. ¶ 52.

       In January 2024, Robakidze filed suit against LifeSport, claiming that

LifeSport violated Title VII by discriminating against her based on her sex (Count I)

and her national origin (Count II). See [1] ¶¶ 9–34. Now before the Court is

LifeSport’s motion for summary judgment on Robakidze’s Count II claim for national

origin discrimination. [17].



4 Robakidze denies this statement and cites to her own deposition testimony that Remigio told her he

knew “full well” that others were teaching outside LifeSport. [21] ¶ 49 (quoting [21-9] at 81–82).
However, because Robakidze’s statement about what Remigio purportedly said is inadmissible
hearsay (an objection that defendant makes), the Court cannot consider it on summary judgment. See
Lewis v. CITGO Petroleum Corp., 561 F.3d 698, 704 (7th Cir. 2009) (“To defeat a summary judgment
motion, [ ] a party may rely only on admissible evidence.”); see also Fed. R. Evid. 802; [22] ¶ 12. And
because Robakidze has not offered any other evidentiary support to challenge the statement, the Court
deems it admitted that the company never had “definitive proof” of other tennis pros teaching offsite.
See N.D. Ill. L.R. 56.1(e)(3).

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                                      DISCUSSION

       Title VII makes it unlawful for employers to “fail or refuse to hire or to

discharge any individual, or otherwise to discriminate against any individual with

respect to his compensation, terms, conditions, or privileges of employment, because

of such individual’s race, color, religion, sex, or national origin.” 42 U.S.C. § 2000e-

2(a)(1). In this suit, Robakidze claims that LifeSport violated § 2000e-2(a)(1) by firing

her because of her sex and national origin. See [1] ¶¶ 9–34. LifeSport concedes that

her sex discrimination claim is “unsuited for disposal on summary judgment,” so it

moves for summary judgment only on Robakidze’s national origin discrimination

claim. See [18] at 1 n.1.

       A plaintiff making a Title VII claim may use multiple approaches to show

discrimination at the summary judgment stage. See David v. Bd. of Trs. of Cmty. Coll.

Dist. No. 508, 846 F.3d 216, 224 (7th Cir. 2017). One way is through the burden-

shifting framework the Supreme Court adopted in McDonnell Douglas Corp. v. Green,

411 U.S. 792 (1973). Under McDonnell Douglas, “the plaintiff has the initial burden

of establishing that (1) she is a member of a protected class, (2) she performed

reasonably on the job in accord with her employer’s legitimate expectations, (3)

despite her reasonable performance, she was subjected to an adverse employment

action, and (4) similarly situated employees outside of her protected class were

treated more favorably by the employer.” David, 846 F.3d at 225 (cleaned up) (quoting

Andrews v. CBOCS West, Inc., 743 F.3d 230, 234 (7th Cir. 2014)). “If the plaintiff

satisfies   that   burden,   then   the   employer   must    articulate   a   legitimate,



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nondiscriminatory reason for the adverse employment action, at which point the

burden shifts back to the plaintiff to submit evidence that the employer’s explanation

is pretextual.” Id. (quoting Andrews, 743 F.3d at 234).

        LifeSport does not dispute that Robakidze is a member of a protected class and

was subject to an adverse employment action. See [18] at 10. It does, however,

challenge whether Robakidze was meeting LifeSport’s legitimate job expectations

and whether similarly situated individuals outside her protected class received better

treatment. See id.

        Starting with the former, it is undisputed that Robakidze was not meeting

LifeSport’s legitimate expectations at the time of her discharge. LifeSport had a

reasonable policy prohibiting its tennis pros from teaching outside LifeSport’s

premises without prior consent from management, see [21] ¶ 6, and Robakidze

admitted to teaching at least nine students offsite without LifeSport’s permission, see

[19-2] at 86:14–88:5; see also [19-3] ¶ 19; [21] ¶¶ 12, 54. Plaintiff admitted that she

taught these students offsite during the meeting with Gordon and Remigio on the day

she was terminated.5 [21] ¶¶ 12, 43; see also [19-3] ¶ 19.




5 To show that Robakidze was not meeting LifeSport’s legitimate expectations, LifeSport also relies on

the two meetings in which Remigio and Robakidze supposedly discussed Robakidze’s poor job
performance. See [18] at 11. But Robakidze disputes that these meetings ever occurred. See [21] ¶¶ 29–
31. LifeSport also references the incident with the Sachs Center, but Gordon made clear during his
deposition that this earlier incident was not a factor in LifeSport’s decision to fire Robakidze, see [19-
8] at 33:17–34:10, and Robakidze does not dispute that representation, see [21] ¶ 22. For purposes of
resolving whether there is a genuine dispute of material fact as to whether plaintiff was meeting
LifeSport’s legitimate job expectations, the Court therefore focuses on Robakidze’s undisputed
admission that she was violating LifeSport policy by teaching clients offsite. See [19-2] at 86:14–88:5;
see also [21] ¶ 12; [19-3] ¶ 19.

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      Even if Robakidze could show that she was meeting LifeSport’s legitimate

expectations, Robakidze must show “similarly situated employees outside of her

protected class were treated more favorably.” David, 846 F.3d at 225. “All things

being equal, if an employer takes an action against one employee in a protected class

but not another outside that class, one can infer discrimination. The ‘similarly

situated’ prong establishes whether all things are in fact equal.” Coleman v. Donahoe,

667 F.3d 835, 846 (7th Cir. 2012). Similarly situated employees “must be directly

comparable to the plaintiff in all material respects, but they need not be identical in

every conceivable way.” Id. (cleaned up) (quoting Patterson v. Indiana Newspapers,

Inc., 589 F.3d 357, 365–66 (7th Cir. 2009)). “In the usual case a plaintiff must at least

show that the comparators (1) ‘dealt with the same supervisor,’ (2) ‘were subject to

the same standards,’ and (3) ‘engaged in similar conduct without such differentiating

or mitigating circumstances as would distinguish their conduct or the employer’s

treatment of them.’” Id. at 847 (quoting Gates v. Caterpillar, Inc., 513 F.3d 680, 690

(7th Cir. 2008)).

      Robakidze attempts to meet this requirement in two ways. First, she says she

was treated less favorably than non-Georgians because lessons were removed from

her and reassigned to Filipino tennis pros. See [20] at 6. But the only tennis pro who

received reassignments from Robakidze was Darko Mihajlovic, and Mihajlovic is

Serbian, not Filipino. See [21] ¶¶ 65, 67. In any case, Robakidze has not shown that

similarly situated non-Georgian tennis pros were not also subject to the same types




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of reassignments. For all the Court knows, the Filipino tennis pros also had lessons

reassigned to Mihajlovic. Robakidze does not say otherwise.

      Second, Robakidze claims that similarly situated Filipino employees were not

fired for teaching lessons offsite even though LifeSport knew they were doing so. See

[20] at 6. But Robakidze has provided no details about these employees from which

the Court can determine whether they were “directly comparable to the plaintiff in

all material respects.” Patterson, 589 F.3d at 365–66. Moreover, LifeSport has

identified a key difference between Robakidze and these other tennis pros: Although

LifeSport may have suspected that they were teaching offsite, LifeSport never had

any definitive proof. See [21] ¶ 57; see also supra n.4. When LifeSport confronted other

pros about teaching offsite, they denied it. See [21] ¶¶ 50–51. In contrast, during the

August 4, 2023 meeting, Robakidze admitted to breaking the prohibition on teaching

offsite. See id. ¶¶ 12, 43; see also [19-3] ¶ 19. The texts between Robakidze and

Remigio on the night Robakidze was fired highlight this difference. In response to

Robakidze’s suggestion that she was treated differently from two Filipino employees

who were suspected of teaching lessons offsite, Remigio said he had “no proof even

with them, and who knows what other pros doing [sic].” [21] ¶ 55; see also [19-16].

Because this difference is undisputed, Robakidze cannot show that she and the other

employees engaged in “similar conduct without such differentiating or mitigating

circumstances as would distinguish their conduct or the employer’s treatment of

them.” Coleman, 667 F.3d at 847 (quoting Gates, 513 F.3d at 690).




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       Even if Robakidze were to make a prima facie showing on the first step of the

McDonnell Douglas framework, LifeSport has offered a legitimate, nondiscriminatory

reason for her firing: Robakidze admitted to teaching offsite without management’s

permission.6 See [21] ¶¶ 12, 43; [19-3] ¶ 19. To succeed under the McDonnell Douglas

framework then, Robakidze would need to show that the employer’s stated reason is

pretextual. See David, 846 F.3d at 225. “Pretext ‘means a lie, specifically a phony

reason for some action.’” Millbrook v. IBP, Inc., 280 F.3d 1169, 1175 (7th Cir. 2002)

(quoting Russell v. Acme–Evans Co., 51 F.3d 64, 68 (7th Cir. 1995)). An employer’s

reasoning is not pretext so long as it “honestly believed it made the correct

employment decision—even if its decision was inaccurate, unfair, foolish, trivial, or

baseless.” Barnes-Staples v. Carnahan, 88 F.4th 712, 716 (7th Cir. 2023) (cleaned up)

(quoting Coleman, 667 F.3d at 852–53).

       Robakidze argues in her response that “there is ample evidence of pretext,” but

she does little in the way of explaining how LifeSport’s stated reasoning was a lie.

[20] at 6. In addition to points the Court already has addressed, Robakidze asks the

Court to take judicial notice of the proportion of the Libertyville population that is

Filipino. Id. at 7. From there, she asks the Court to presume there is a disparity

between the proportion of Filipinos employed at LifeSport and the proportion of



6 As discussed, in addition to its newfound knowledge that Robakidze was teaching lessons offsite,

LifeSport also says it fired Robakidze “because her already substandard job performance was not
improving.” [21] ¶ 46. Because the facts underlying Robakidze’s alleged substandard performance are
disputed, see id. ¶¶ 29–35, the Court again focuses on the undisputed evidence that Robakidze
admitted to teaching lessons offsite without LifeSport’s permission to do so, see [21] ¶¶ 12, 43; [19-3]
¶ 19, in resolving whether LifeSport has proffered a legitimate, nondiscriminatory reason for firing
Robakidze. As a result, the Court does not need to address Robakidze’s argument that the complaints
in Remigio’s October 2022 email to Gordon included unlawful reasons for firing her. See [20] at 5.

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Filipinos in the Libertyville population. See id. (“The number of Filipino[s] employed

by Defendant indicates that there must be a favoritism at play.”). Even assuming this

alleged disparity is real, without more evidence, no reasonable jury could find

LifeSport’s justification was pretextual merely because LifeSport employs a greater

proportion of Filipinos than are present in the community at large.

        Robakidze       also    says     LifeSport’s      reasons      for    firing    Robakidze       are

“contradictory” and “not clear and specific.” [20] at 4. The Court disagrees. LifeSport

says that Robakidze’s firing was “trigger[ed]” by its “newfound knowledge” that she

was teaching offsite, [21] ¶ 47, and LifeSport also maintains that it fired her because

her “already substandard job performance was not improving.” Id. ¶ 46. Robakidze

does not attempt to explain how these two reasons are contradictory, and the Court

sees no tension between them either. It is more than plausible that Robakidze’s

performance and her failure to abide by LifeSport’s policy played a role in LifeSport’s

decision to fire her. The admitted-to policy violation may have been the straw that

broke the camel’s back, but termination on those grounds would not be inconsistent

with termination for previously subpar performance. 7 See Creal v. Springhill Ford,


7 LifeSport says in its reply brief that Robakidze was fired for the “one simple reason” that she was

teaching offsite without consent. See [23] at 8; see also id. at 4. But this contradicts LifeSport’s
representations—both in its opening brief and its Rule 56.1 statement—that it fired Robakidze both
because of her job performance and because she was teaching lessons offsite without permission. See
[21] ¶ 46 (LifeSport stating in its Rule 56.1 statement that it “terminated Robakidze not only because
it learned she was teaching private tennis lessons offsite without management’s prior consent but
because her already substandard job performance was not improving”) (emphasis added); see also [18]
at 1, 5 (reciting the same in opening brief). Still, the Court does not find this discrepancy in the briefing
enough to show that LifeSport’s stated reasoning was pretext, especially given the lack of supporting
evidence that LifeSport discriminated against Robakidze because of her national origin. Contra Rudin
v. Lincoln Land Cmty. Coll., 420 F.3d 712, 726 (7th Cir. 2005) (finding evidence of pretext where an
employer’s justification for hiring another employee over plaintiff had changed over time); Hitchcock
v. Angel Corps, Inc., 718 F.3d 733, 739 (7th Cir. 2013) (noting that defendant’s “ever-evolving
justifications” for employee’s termination were evidence of pretext).

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Inc., No. 06 C 0175, 2007 WL 3120106, at *6 (N.D. Ill. Oct. 19, 2007) (“[G]iven that

an employer can terminate an employee for multiple, legitimate reasons, the fact that

the record contains more than one statement of why [plaintiff] was fired only helps

[plaintiff] if those statements are inconsistent with one another or the underlying

facts in such a way as to suggest a lie.”); see also Stodola v. Finley & Co., No. 2:05-

CV-464-PRC, 2008 WL 3992237, at *13 (N.D. Ind. Aug. 21, 2008) (“That Defendants

offer several reasons for [plaintiff’s] termination does not alone show pretext.”).

      Although the McDonnell Douglas framework is one way a plaintiff can

establish causation in the Title VII context, a plaintiff can also show causation under

the more holistic approach in Ortiz v. Werner Enterprises, Inc., 834 F.3d 760, 765 (7th

Cir. 2016). This approach simply asks “whether the evidence would permit a

reasonable factfinder to conclude that the plaintiff’s [national origin] … caused the

discharge.” Id.; see also McDaniel v. Progress Rail Locomotive, Inc., 940 F.3d 360, 369

(7th Cir. 2019). For the reasons already discussed, Robakidze has not met her burden

to show that her national origin was the reason for her firing. Robakidze’s evidence

that LifeSport favored Filipinos over other employees with different national origins

is virtually nonexistent. Although two Filipinos who previously worked at LifeSport

may have been suspected of teaching lessons offsite, LifeSport has established that it

never had definitive proof they were doing so. Nor is the Court convinced by

Robakidze’s argument that Filipinos make up a greater share of LifeSport’s workforce

compared to the greater community. Even assuming that were true, that fact alone

does not lead to the inference that she was fired because of her national origin.



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Without more, Robakidze’s Title VII claim for national origin discrimination does not

survive summary judgment.

                                     CONCLUSION

      For the reasons discussed, the Court grants LifeSport’s motion to dismiss

Robakidze’s Count II claim for national origin discrimination under Title VII. The

parties are directed to appear on 6/18/25 for a status hearing to discuss next steps in

the case, including setting a trial date on Count I and the possibility of settlement.



                                               ___________________________
                                               Georgia N. Alexakis
                                               United States District Judge

Date: 5/23/25




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